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2                                    UNITED STATES DISTRICT COURT
3                                           DISTRICT OF NEVADA
4                                                       ***
5     UNITED STATES OF AMERICA,
6                           Plaintiff,                     2:16-cr-00305-KJD-VCF
7     vs.                                                  ORDER
                                                           [ECF Nos. 30 & 31]
8     KAREEN ANDERSON,

9                           Defendant.

10           Before the Court are Defendant Anderson's motion for hearing and motion to withdraw Lance J.
11   Hendron as counsel and appointment of new counsel (ECF Nos. 30 and 31). Defendant Anderson filed
12   these motions on his own behalf.
13           Mr. Hendron, Esq. was appointed as counsel of record on November 3, 2016. (ECF No. 10). He
14   is currently Defendant's counsel and has not withdrawn from this matter. Id.
15           Pursuant to Local Rule IA 11-6(a), “[a] party who has appeared by attorney cannot while so
16   represented appear or act in the case. This means that once an attorney makes an appearance on behalf of
17   a party, that party may not personally file a document with the court; all filings must thereafter be made
18   by the attorney.” Lance J. Hendron, Esq. is defendant’s counsel of record and has not filed a motion to
19   withdraw as counsel; thus, defendant may not file motions on his own behalf. See Local Rule IA 11-6(a).
20           Accordingly, IT IS HEREBY ORDERED that Defendant Anderson's motion for hearing and
21   motion to withdraw Lance J. Hendron as counsel (ECF Nos. 30 and 31) are DENIED.
22           The Clerk of Court is directed to strike Defendant Anderson's motion for hearing and motion to
23   withdraw Lance J. Hendron as counsel (ECF Nos. 30 and 31).
24           DATED this 7th day of December, 2016.
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                                                                 CAM FERENBACH
                                                                 UNITED STATES MAGISTRATE JUDGE
